     Case 5:19-cv-00080-MCR-MJF Document 132 Filed 11/09/20 Page 1 of 2




                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                        PANAMA CITY DIVISION


THEODORE L. WHIDDEN,
      Plaintiff,
v.                                                CASE NO. 5:19cv80-MCR/MJF
LOUIS S. ROBERTS, III,
and LARRY BIRGE
      Defendant.
                                           /

                                    ORDER

      This cause comes on for consideration upon the magistrate judge’s Report and

Recommendation dated July 28, 2020. ECF No. 113. The parties have been

furnished a copy of the Report and Recommendation and have been afforded an

opportunity to file objections pursuant to Title 28, United States Code, Section

636(b)(1). I have made a de novo determination of all timely filed objections.

      Having considered the Report and Recommendation, and any objections

thereto timely filed, I have determined that the Report and Recommendation should

be adopted.

      Accordingly, it is now ORDERED as follows:

      1.      The magistrate judge’s Report and Recommendation is adopted and

incorporated by reference in this Order.
    Case 5:19-cv-00080-MCR-MJF Document 132 Filed 11/09/20 Page 2 of 2




     2.    The Defendants’ respective Motions to Dismiss, ECF Nos. 64, 65, are

GRANTED;

     3.    Counts Seven, Twelve, Thirteen and Fourteen of Plaintiff’s second

amended complaint are DISMISSED.

     DONE AND ORDERED this 9th day of November 2020.




                                    s/ M. Casey Rodgers
                                   M. CASEY RODGERS
                                   UNITED STATES DISTRICT JUDGE
